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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 ALI KARIMI, Individually and On Behalf        Case No.
 of All Others Similarly Situated,

                                 Plaintiff,    CLASS ACTION COMPLAINT

                         v.
                                               JURY TRIAL DEMANDED
 DEUTSCHE BANK
 AKTIENGESELLSCHAFT, JOHN
 CRYAN, CHRISTIAN SEWING, and
 JAMES VON MOLTKE,

                              Defendants.


      Plaintiff Ali Karimi (“Plaintiff”), individually and on behalf of all other

persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants, alleges the following based upon personal knowledge

as to Plaintiff and Plaintiff’s own acts, and information and belief as to all other



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matters, based upon, inter alia, the investigation conducted by and through

Plaintiff’s attorneys, which included, among other things, a review of the

Defendants’ public documents, conference calls and announcements made by

Defendants, United States (“U.S.”) Securities and Exchange Commission (“SEC”)

filings, wire and press releases published by and regarding Deutsche Bank

Aktiengesellschaft (“Deutsche Bank” or the “Bank”), analysts’ reports and

advisories about the Bank, and information readily obtainable on the Internet.

Plaintiff believes that substantial additional evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.

                              NATURE OF THE ACTION

       1.        This is a federal securities class action on behalf of a class consisting

of all persons and entities other than Defendants who purchased or otherwise

acquired Deutsche Bank securities between November 7, 2017, and July 6, 2020,

both dates inclusive (the “Class Period”), seeking to recover damages caused by

Defendants’ violations of the federal securities laws and to pursue remedies under

Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”) and Rule 10b-5 promulgated thereunder, against the Bank and certain of its

top officials.

       2.        Deutsche Bank was founded in 1870 and is headquartered in Frankfurt

am Main, Germany. The Bank provides investment, financial, and related products



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and services to private individuals, corporate entities, and institutional clients

worldwide.

      3.     Deutsche Bank has been the subject of scandal, investigation and

regulatory enforcement for years because of anti-money laundering (“AML”)

compliance failures and deficiencies in its disclosure controls and procedures and

internal control over financial reporting, causing it to have one of the lowest gradings

offered by the U.S. Federal Reserve (“Federal Reserve”).

      4.     Throughout the Class Period, Defendants made materially false and

misleading statements regarding the Bank’s business, operational and compliance

policies. Specifically, Defendants made false and/or misleading statements and/or

failed to disclose that: (i) Deutsche Bank had failed to remediate deficiencies related

to AML, its disclosure controls and procedures and internal control over financial

reporting, and its U.S. operations’ troubled condition; (ii) as a result, the Bank failed

to properly monitor customers that the Bank itself deemed to be high risk, including,

among others, the convicted sex offender Jeffrey Epstein (“Epstein”) and two

correspondent banks, Danske Estonia and FBME Bank, which were both the

subjects of prior scandals involving financial misconduct; (iii) the foregoing, once

revealed, was foreseeably likely to have a material negative impact on the Bank’s

financial results and reputation; and (iv) as a result, the Bank’s public statements

were materially false and misleading at all relevant times.



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      5.     On May 13, 2020, media outlets reported that the Federal Reserve had

sharply criticized Deutsche Bank’s U.S. operations in an internal audit. The audit

reportedly found that Deutsche Bank had failed to address multiple concerns

identified years earlier, including concerns related to the Bank’s AML and other

control procedures.

      6.     On this news, the value of Deutsche Bank’s ordinary shares fell $0.31

per share, or 4.49%, to close at $6.60 per share on May 13, 2020.

      7.     Then, on July 7, 2020, the Federal Reserve’s criticism of Deutsche

Bank’s failure to address its AML and other issues was reaffirmed when the New

York State Department of Financial Services (“DFS”) fined the Bank $150 million

for neglecting to flag numerous questionable transactions from accounts associated

with Epstein and with two correspondent banks, Danske Estonia and FBME Bank,

both of which were the subjects of prior scandals involving financial misconduct.

      8.     On this news, the value of Deutsche Bank’s ordinary shares fell $0.13

per share, or 1.31%, to close at $9.82 per share on July 7, 2020.

      9.     As a result of Defendants’ wrongful acts and omissions, and the

precipitous decline in the market value of the Bank’s securities, Plaintiff and other

Class members have suffered significant losses and damages.




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                           JURISDICTION AND VENUE

      10.      The claims asserted herein arise under and pursuant to Sections 10(b)

and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5

promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).

      11.      This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act.

      12.      Venue is proper in this Judicial District pursuant to Section 27 of the

Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b), as the alleged

misstatements entered and the subsequent damages took place in this Judicial

District. Pursuant to Deutsche Bank’s most recent annual report on Form 20-F, as

of December 31, 2019, there were 2,066,101,774 of the Bank’s ordinary shares

outstanding.     Deutsche Bank’s ordinary shares trade on the New York Stock

Exchange (“NYSE”). Accordingly, there are presumably hundreds, if not thousands,

of investors in Deutsche Bank’s ordinary shares located within the U.S., some of

whom undoubtedly reside in the State of New Jersey (“New Jersey”). Additionally,

upon information and belief, Deutsche Bank and/or an affiliate or subsidiary of the

Bank maintained an office at Harborside Financial Center Platform, Jersey City,

New Jersey 07311 during the Class Period. In addition, upon information and belief,

Deutsche Bank and/or an affiliate or subsidiary of the Bank had multiple offices

throughout New Jersey during the Class Period.



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      13.    In connection with the acts alleged in this complaint, Defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce,

including, but not limited to, the mails, interstate telephone communications, and the

facilities of the national securities markets.

                                      PARTIES

      14.    Plaintiff, as set forth in the attached Certification, acquired Deutsche

Bank securities at artificially inflated prices during the Class Period and was

damaged upon the revelation of the alleged corrective disclosures.

      15.    Defendant Deutsche Bank is organized under the laws of the Federal

Republic of Germany, with principal executive offices located at Taunusanlage 12,

60325 Frankfurt am Main, Germany. The Bank’s ordinary shares trade in an

efficient market on the NYSE under the ticker symbol “DB.”

      16.    Defendant John Cryan (“Cryan”) served as Deutsche Bank’s Chairman

of the Management Board and Chief Executive Officer (“CEO”) from before the

start of the Class Period until April 8, 2018.

      17.    Defendant Christian Sewing (“Sewing”) has served as Deutsche Bank’s

CEO since April 8, 2018.

      18.    Defendant James von Moltke (“Moltke”) has served as Deutsche

Bank’s Chief Financial Officer at all relevant times.




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      19.    Defendants Cryan, Sewing, and Moltke are sometimes referred to

herein as the “Individual Defendants.”

      20.    The Individual Defendants possessed the power and authority to control

the contents of Deutsche Bank’s SEC filings, press releases, and other market

communications. The Individual Defendants were provided with copies of Deutsche

Bank’s SEC filings and press releases alleged herein to be misleading prior to or

shortly after their issuance and had the ability and opportunity to prevent their

issuance or to cause them to be corrected. Because of their positions with Deutsche

Bank, and their access to material information available to them but not to the public,

the Individual Defendants knew that the adverse facts specified herein had not been

disclosed to and were being concealed from the public, and that the positive

representations being made were then materially false and misleading.              The

Individual Defendants are liable for the false statements and omissions pleaded

herein.

      21.    Deutsche Bank and the Individual Defendants are collectively referred

to herein as “Defendants.”

                        SUBSTANTIVE ALLEGATIONS

                                    Background

      22.    Deutsche Bank was founded in 1870 and is headquartered in Frankfurt

am Main, Germany. The Bank provides investment, financial, and related products



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and services to private individuals, corporate entities, and institutional clients

worldwide.

      23.    Deutsche Bank has been the subject of scandal, investigation and

regulatory enforcement for years due to widespread AML compliance failures and

deficiencies in its disclosure controls and procedures and internal control over

financial reporting, causing it to have one of the lowest gradings offered by the

Federal Reserve. Such deficiencies have negatively impacted the Bank and had far-

reaching implications in the U.S., including in this Judicial District, which covers

the State of New Jersey. For example, on October 25, 2017, New Jersey Attorney

General Christopher S. Porrino (“Porrino”) announced that New Jersey is part of a

$220 million, multi-state settlement with Deutsche Bank that resolves allegations of

fraudulent and anti-competitive conduct involving manipulation by Deutsche Bank

of the London Interbank Offered Rate (“LIBOR”). According to Porrino, Deutsche

Bank’s manipulations of LIBOR harmed multiple government agencies and other

entities in New Jersey, including the New Jersey Economic Development Authority.

 Materially False and Misleading Statements Issued During the Class Period

      24.    The Class Period begins on November 7, 2017, when Deutsche Bank

issued a press release announcing that Florian Drinhausen (“Drinhausen”) would

become Deutsche Bank’s General Counsel in the following year and lead the Bank’s

Legal Department, replacing outgoing Co-General Counsels Christof von Dryander



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and Simon Dodds (the “November 2017 Press Release”). That press release touted

Drinhausen’s credentials, experience, and recognition within the legal field and

quoted the Bank’s Management Board Member for Legal and Labour Director

(Arbeitsdirektor), Karl von Rohr, who assured investors that Drinhausen “is an

excellent lawyer and a very experienced manager, who is very familiar with the bank

and the challenges [it is] facing.”

      25.    Coming amidst the Bank’s backdrop of scandals, criticism, and

increased regulatory scrutiny, investigation, and enforcement, the November 2017

Press Release signaled to investors that Drinhausen’s appointment as the Bank’s

General Counsel would further ensure the Bank’s mitigation of its prior AML and

other control function failures. Covering Drinhausen’s appointment, Bloomberg

reported that “Deutsche Bank AG is replacing its two general counsels with one head

as it makes headway in reducing the number of major legal cases it’s dealing with.”

The Bloomberg article contextualized Drinhausen’s appointment within the myriad

legal challenges that the Bank faced, noting, inter alia, that “Deutsche Bank spent

100 million euros on litigation in the first nine months of 2017, down from 800

million in the same period one year earlier.”

      26.    On March 16, 2018, Deutsche Bank filed an annual report on Form 20-

F with the SEC, reporting the Bank’s financial and operating results for the quarter

and year ended December 31, 2017 (the “2017 20-F”). The 2017 20-F touted the



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Bank’s remediation efforts with respect to its AML and other control functions,

representing, in relevant part, that Defendants “have identified the need to strengthen

[the Bank’s] internal control environment and infrastructure and have embarked on

initiatives to accomplish this”; that the Bank’s “Management Board and [its] Group

Audit function have increasingly and more intensively focused on [the Bank’s]

internal controls and infrastructure through numerous formal reviews and audits of

[its] operations,” which “have identified various areas for improvement relating to a

number of elements of [the Bank’s] control environment and infrastructure,”

including “the infrastructure relating to transaction capturing and recognition,

classification of assets, asset valuation frameworks, data and process consistency,

risk identification, measurement and management and other processes required by

laws, regulations, and supervisory expectations,” as well as “regulatory reporting,

[AML], ‘know your customer’ and other internal processes that are aimed at

preventing use of [the Bank’s] products and services for the purpose of committing

or concealing financial crime.”

      27.    In this same vein, the 2017 20-F represented that Deutsche Bank’s

“principal regulators, including the [European Central Bank (‘ECB’)] and the

Federal Reserve Board, have also conducted numerous reviews focused on various

aspects of [the Bank’s] internal controls and the related infrastructure, including

among others, controls around AML and around valuation,” and “have required [the



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Bank] formally to commit to remediate [its] AML and other weaknesses, including

the fragmented and manual nature of [its] infrastructure”; that “[l]ocal regulators in

other countries in which [the Bank] do[es] business also review the sufficiency of

[its] control environment and infrastructure with respect to their jurisdictions”; and

that “the overall goals of the various prudential regulators having authority over [the

Bank] in the many places in which [it] do[es] business are broadly consistent, and

the general themes of [its] deficiencies in internal controls and the supporting

infrastructure are similar.”

      28.    The 2017 20-F further represented that, “to improve in the areas

discussed above, [Deutsche Bank is] undertaking several major initiatives to

enhance the efficacy of the transaction processing environment, strengthen [its]

controls and infrastructure, manage non-financial risks and enhance the skill set of

[its] personnel”; that the Bank “believe[s] that these initiatives will better enable [it]

to avoid the circumstances that have resulted in many of the litigations and

regulatory and enforcement investigations and proceedings to which [it] ha[s]

recently been subject, and will improve [its] ability to comply with laws and

regulations and meet supervisory expectations”; that, “[i]n particular, [the Bank is]

making efforts to reduce the complexity of [its] business and to integrate and

automate processes and business and second-line controls”; and that the Bank has

“also exited certain businesses . . . selectively off-boarded a number of clients,



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worked to strengthen [its] compliance culture and control functions and increased

the size of and strengthened [its] Group Audit function.”

      29.    In addition to the remediation efforts described above, the 2017 20-F

contained generic, boilerplate representations related to risks inherent in Deutsche

Bank’s internal control environment, stating, relevant part:

      Both our internal control environment and the infrastructure that
      underlies it fall short in a number of areas of our standards for
      completeness and comprehensiveness and are not well integrated across
      the Bank. Our IT infrastructure, in particular, is fragmented, with
      numerous distinct platforms, many of which need significant upgrades,
      in operation across the Bank. Our business processes and the related
      control systems often require manual procedures and actions that
      increase the risks of human error and other operational problems that
      can lead to delays in reporting information to management and to the
      need for more adjustments and revisions than would be the case with
      more seamlessly integrated and automated systems and processes. As a
      result, it is often difficult and labor-intensive for us to obtain or provide
      information of a consistently high quality and on a timely basis to
      comply with regulatory reporting and other compliance requirements
      or to meet regulatory expectations on a consistent basis and, in certain
      cases, to manage our risk comprehensively. Furthermore, it often takes
      intensive efforts to identify, when possible, inappropriate behavior by
      our staff and attempts by third parties to misuse our services as a
      conduit for prohibited activities, including those relating to anti-
      financial crime laws and regulation.

      In addition, we may not always have the personnel with the appropriate
      experience, seniority and skill levels to compensate for shortcomings
      in our processes and infrastructure, or to identify, manage or control
      risks, and it often has been difficult to attract and retain the requisite
      talent. This has impacted our ability to remediate existing weaknesses
      and manage the risks inherent in our activity.

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      [W]e may be unable to complete . . . initiatives [related to strengthening
      the Bank’s internal control environment] as quickly as we intend or as
      our regulators demand, and our efforts may be insufficient to remediate
      existing deficiencies and prevent future deficiencies or to result in
      fewer litigations or regulatory and enforcement investigations,
      proceedings and criticism in the future. We may also, when faced with
      the considerable expense of these initiatives, fail to provide sufficient
      resources for them quickly enough or at all, especially during periods
      when our operating performance and profitability are challenged. [. . .
      .]

Plainly, the foregoing risk warnings were generic “catch-all” provisions that were

not tailored to Deutsche Bank’s actual known risks related to present deficiencies in

its AML controls, as well as present deficiencies related to its disclosure controls

and procedures and internal control over financial reporting, much less its

relationships with, and lax monitoring of, customers that the Bank itself deemed to

be high risk, such as Epstein, Danske Estonia, and FBME Bank.

      30.    For example, the 2017 20-F represented that, following “[a]n

evaluation . . . carried out under the supervision and with the participation of

[Deutsche Bank’s] management, including [its] Chairman and Chief Financial

Officer, of the effectiveness of the design and operation of [the Bank’s] disclosure

controls and procedures . . . as of December 31, 2017,” Deutsche Bank’s “Chairman

and Chief Financial Officer concluded that the design and operation of [the Bank’s]

disclosure controls and procedures were effective as of December 31, 2017”; that

following “an assessment of the effectiveness of [the Bank’s] internal control over

financial reporting based on the framework established in Internal Control –

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Integrated Framework (2013) issued by the Committee of Sponsoring Organizations

of the Treadway Commission (COSO),” Deutsche Bank’s “management has

determined that [the Bank’s] internal control over financial reporting as of December

31, 2017 was effective based on the COSO framework (2013)”; and that “[t]here

was no change in [the Bank’s] internal control over financial reporting identified in

connection with the evaluation referred to above that occurred during the year ended

December 31, 2017 that has materially affected, or is reasonably likely to materially

affect, [the Bank’s] internal control over financial reporting.”

      31.    In addition to confirming the current effectiveness of Deutsche Bank’s

disclosure controls and procedures and internal control over financial reporting, the

2017 20-F contained generic, boilerplate representations related to risks inherent in

“any control system,” stating, in relevant part:

      There are, as described below, inherent limitations to the effectiveness
      of any control system, including disclosure controls and procedures.
      Accordingly, even effective disclosure controls and procedures can
      provide only reasonable assurance of achieving their control objectives.

                                        ***

      A control system, no matter how well conceived and operated, can
      provide only reasonable, not absolute, assurance that the objectives of
      the control system are met. As such, disclosure controls and procedures
      or systems for internal control over financial reporting may not prevent
      all error and all fraud. Further, the design of a control system must
      reflect the fact that there are resource constraints, and the benefits of
      controls must be considered relative to their costs. Because of the
      inherent limitations in all control systems, no evaluation of controls can
      provide absolute assurance that all control issues and instances of fraud,

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      if any, within the company have been detected. These inherent
      limitations include the realities that judgments in decision-making can
      be faulty, and that breakdowns can occur because of simple error or
      mistake. Additionally, controls can be circumvented by the individual
      acts of some persons, by collusion of two or more people, or by
      management override of the control. The design of any system of
      controls also is based in part upon certain assumptions about the
      likelihood of future events, and any design may not succeed in
      achieving its stated goals under all potential future conditions; over
      time, control may become inadequate because of changes in conditions,
      or the degree of compliance with the policies or procedures may
      deteriorate. Because of the inherent limitations in a cost-effective
      control system, misstatements due to error or fraud may occur and not
      be detected.

These risk warnings, too, were plainly generic “catch-all” provisions that were not

tailored to Deutsche Bank’s actual known risks with respect to current deficiencies

in its disclosure controls and procedures, much less its relationships with, and lax

monitoring of, customers that the Bank itself deemed to be high risk, such as Epstein,

Danske Estonia, and FBME Bank.

      32.    Appended as exhibits to the 2017 20-F were signed certifications

pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”), wherein Defendants Cryan

and Moltke “certifie[d] . . . that, to [their] knowledge, the [2017 20-F] fully complies

with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of

1934, and that, to [their] knowledge, the information contained in such report fairly

presents, in all material respects, the financial condition and results of operations of

Deutsche Bank.”




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      33.    On March 25, 2019, Deutsche Bank filed an annual report on Form 20-

F with the SEC, reporting the Bank’s financial and operating results for the quarter

and year ended December 31, 2018 (the “2018 20-F”). The 2018 20-F contained

substantively the same statements as those referenced in ¶¶ 26-31, supra, which

touted the Bank’s remediation efforts with respect to its AML and other control

functions; confirmed the current effectiveness of Deutsche Bank’s disclosure

controls and procedures and internal control over financial reporting; and contained

boilerplate representations related to risks inherent in the Bank’s internal control

environment and “any control system,” which were plainly generic “catch-all”

provisions that were not tailored to Deutsche Bank’s actual known risks related to

present deficiencies in its AML, the continued troubled condition of its U.S.

operations, and present deficiencies related to its disclosure controls and procedures

and internal control over financial reporting, much less its relationships with, and

lax monitoring of, customers that the Bank itself deemed to be high risk, such as

Epstein, Danske Estonia, and FBME Bank.

      34.    Appended as exhibits to the 2018 20-F were substantively the same

SOX certifications as referenced in ¶ 32, supra, signed by Defendants Sewing and

Moltke.

      35.    On March 20, 2020, Deutsche Bank filed an annual report on Form 20-

F with the SEC, reporting the Bank’s financial and operating results for the quarter



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and year ended December 31, 2019 (the “2019 20-F”). The 2019 20-F contained

substantively the same statements as those referenced in ¶¶ 26-31, supra, which

touted the Bank’s remediation efforts with respect to its AML and other control

functions; confirmed the current effectiveness of Deutsche Bank’s disclosure

controls and procedures and internal control over financial reporting; and contained

boilerplate representations related to risks inherent in the Bank’s internal control

environment and “any control system,” which were plainly generic “catch-all”

provisions that were not tailored to Deutsche Bank’s actual known risks related to

present deficiencies in its AML, the continued troubled condition of its U.S.

operations, and present deficiencies related to its disclosure controls and procedures

and internal control over financial reporting, much less its relationships with, and

lax monitoring of, customers that the Bank itself deemed to be high risk, such as

Epstein, Danske Estonia, and FBME Bank.

      36.    Appended as exhibits to the 2019 20-F were substantively the same

SOX certifications as referenced in ¶ 32, supra, signed by Defendants Sewing and

Moltke.

      37.    The statements referenced in ¶¶ 24 and 26-36 were materially false and

misleading because Defendants made false and/or misleading statements, as well as

failed to disclose material adverse facts about the Bank’s business, operational and

compliance policies.     Specifically, Defendants made false and/or misleading



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statements and/or failed to disclose that: (i) Deutsche Bank had failed to remediate

deficiencies related to AML, its disclosure controls and procedures and internal

control over financial reporting, and its U.S. operations’ troubled condition; (ii) as a

result, the Bank failed to properly monitor customers that the Bank itself deemed to

be high risk, including, among others, Epstein and the correspondent banks Danske

Estonia and FBME Bank, both of which were the subjects of prior scandals involving

financial misconduct; (iii) the foregoing, once revealed, was foreseeably likely to

have a material negative impact on the Bank’s financial results and reputation; and

(iv) as a result, the Bank’s public statements were materially false and misleading at

all relevant times.

                                The Truth Emerges

      38.    On April 29, 2020, Deutsche Bank issued a press release announcing

that Drinhausen would “leave the company on 31 May 2020 by mutual agreement,”

without providing any further explanation for Drinhausen’s departure.

      39.    Then, two weeks later, on May 13, 2020, German newspaper

Sueddeutsche Zeitung reported that the Federal Reserve had sharply criticized

Deutsche Bank’s U.S. operations in an internal audit. The audit reportedly found

that Deutsche Bank had failed to address multiple concerns identified years earlier,

including concerns related to the Bank’s AML and other control procedures. For

example, U.S. media outlets, citing Sueddeutsche Zeitung, reported that, in late



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March, the Federal Reserve had sent an audit report to Defendant Sewing and other

top executives “expressing continued dissatisfaction” with Deutsche Bank’s AML

controls and liquidity management at its U.S. unit, which was reportedly “based on

investigations in late 2019 and early 2020.”

      40.   On this news, the value of Deutsche Bank’s ordinary shares fell $0.31

per share, or 4.49%, to close at $6.60 per share on May 13, 2020.

      41.   Finally, on July 7, 2020, the Federal Reserve’s criticism of Deutsche

Bank’s failure to address its AML and other issues was reaffirmed when the DFS

fined the Bank $150 million for neglecting to flag numerous questionable

transactions from accounts associated with Epstein and two correspondent banks,

Danske Estonia and FBME Bank, which were both the subject of prior scandals

involving financial misconduct.

      42.   For example, a Law360 article published the same day, entitled

“Deutsche Bank Fined $150M For Epstein, Partner Bank Lapses,” stated, in relevant

part, that “New York state’s financial regulator . . . fined Deutsche Bank $150

million for failing to appropriately manage its dealings with alleged bad actors

including millionaire sex offender Jeffrey Epstein,” and that, “[a]ccording to the

terms of a consent order with the [DFS], Deutsche Bank AG, its New York branch

and Deutsche Bank Trust Company America agreed to pay the sum in connection

with DFS claims that the bank neglected to flag numerous questionable transactions



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from accounts associated with Epstein and two correspondent banks, Danske Estonia

and FBME Bank.”

      43.    With specific respect to Deutsche Bank’s failure to appropriately

monitor transactions related to Epstein, the Law360 article reported, in relevant part:

      According to the DFS, Deutsche bank “processed hundreds of
      transactions totaling millions of dollars that, at the very least, should
      have prompted additional scrutiny in light of Mr. Epstein’s history.”

      Those transactions included payments to Epstein associates who were
      “publicly alleged” to have played roles in luring Epstein’s victims,
      more than $7 million in settlement payments and $6 million in legal
      fees, more than $800,000 in cash withdrawals and “(consistent with
      public allegations of prior wrongdoing) payments directly to numerous
      women with Eastern European surnames.”

      The DFS claimed that Deutsche Bank’s own reputational risk
      committee had imposed monitoring requirements on Epstein’s bank
      accounts that the bank failed to adhere to.

      “Throughout the relationship, very few problematic transactions were
      ever questioned, and even when they were, they were usually cleared
      without satisfactory explanation,” the regulator said Tuesday.

                                        ***

      The DFS’ announcement comes on the heels of the arrest last week in
      New Hampshire of Epstein associate and alleged “fixer” Ghislaine
      Maxwell, who was charged by federal prosecutors in connection with
      her alleged actions on behalf of the financier and was removed to stand
      trial in New York. And the announcement occurs nearly a year after
      Epstein committed suicide in a federal jail in Manhattan as he awaited
      trial following his arrest in Florida on sex trafficking charges.

      44.    With specific respect to Deutsche Bank’s failure to appropriately

monitor transactions related to Danske Estonia and FBME Bank, the Law360 article

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reported, in relevant part, that, according to the DFS, the Bank’s “oversight of the

pair of correspondent banks was similarly lacking”; that Danske Estonia is “at the

center of one of the world’s largest money laundering scandals”; that “despite the

fact that Deutsche Bank had given the Eastern European bank its highest risk rating,

Danske Estonia was nonetheless able to transfer billions of dollars in suspicious

transactions through Deutsche Bank accounts in the Empire State”; and that

“Deutsche Bank was the last major Western bank with a correspondent banking

relationship with FBME,” even “after the U.S. Treasury Department’s Financial

Crimes Enforcement Network told all banks with a U.S. footprint that they had to

cut ties with the international bank.”

      45.    The Law360 article also quoted the DFS’s Superintendent of Financial

Services, Linda A. Lacewell (“Lacewell”), who stated that “in each of the cases that

are being resolved today, Deutsche Bank failed to adequately monitor the activity of

customers that the bank itself deemed to be high risk.” Lacewell further stated that,

“[i]n the case of Jeffrey Epstein in particular, despite knowing Mr. Epstein’s terrible

criminal history, the bank inexcusably failed to detect or prevent millions of dollars

of suspicious transactions.”

      46.    On this news, the value of Deutsche Bank’s ordinary shares fell $0.13

per share, or 1.31%, to close at $9.82 per share on July 7, 2020.




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      47.    As a result of Defendants’ wrongful acts and omissions, and the

precipitous decline in the market value of the Bank’s securities, Plaintiff and other

Class members have suffered significant losses and damages.

               PLAINTIFF’S CLASS ACTION ALLEGATIONS

      48.    Plaintiff brings this action as a class action pursuant to Federal Rule of

Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who

purchased or otherwise acquired Deutsche Bank securities during the Class Period

(the “Class”); and were damaged upon the revelation of the alleged corrective

disclosures. Excluded from the Class are Defendants herein, the officers and

directors of the Bank, at all relevant times, members of their immediate families and

their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

      49.    The members of the Class are so numerous that joinder of all members

is impracticable. Throughout the Class Period, Deutsche Bank securities were

actively traded on the NYSE. While the exact number of Class members is unknown

to Plaintiff at this time and can be ascertained only through appropriate discovery,

Plaintiff believes that there are hundreds or thousands of members in the proposed

Class. Record owners and other members of the Class may be identified from

records maintained by Deutsche Bank or its transfer agent and may be notified of




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the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.

       50.       Plaintiff’s claims are typical of the claims of the members of the Class

as all members of the Class are similarly affected by Defendants’ wrongful conduct

in violation of federal law that is complained of herein.

       51.       Plaintiff will fairly and adequately protect the interests of the members

of the Class and has retained counsel competent and experienced in class and

securities litigation. Plaintiff has no interests antagonistic to or in conflict with those

of the Class.

       52.       Common questions of law and fact exist as to all members of the Class

and predominate over any questions solely affecting individual members of the

Class. Among the questions of law and fact common to the Class are:

             •    whether the federal securities laws were violated by Defendants’ acts
                  as alleged herein;

             •    whether statements made by Defendants to the investing public during
                  the Class Period misrepresented material facts about the business,
                  operations and management of Deutsche Bank;

             •    whether the Individual Defendants caused Deutsche Bank to issue
                  false and misleading financial statements during the Class Period;

             •    whether Defendants acted knowingly or recklessly in issuing false and
                  misleading financial statements;




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            •    whether the prices of Deutsche Bank securities during the Class
                 Period were artificially inflated because of the Defendants’ conduct
                 complained of herein; and

            •    whether the members of the Class have sustained damages and, if so,
                 what is the proper measure of damages.

      53.       A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy since joinder of all members is

impracticable. Furthermore, as the damages suffered by individual Class members

may be relatively small, the expense and burden of individual litigation make it

impossible for members of the Class to individually redress the wrongs done to them.

There will be no difficulty in the management of this action as a class action.

      54.       Plaintiff will rely, in part, upon the presumption of reliance established

by the fraud-on-the-market doctrine in that:

            •    Defendants made public misrepresentations or failed to disclose
                 material facts during the Class Period;

            •    the omissions and misrepresentations were material;

            •    Deutsche Bank securities are traded in an efficient market;

            •    the Bank’s shares were liquid and traded with moderate to heavy
                 volume during the Class Period;

            •    the Bank traded on the NYSE and was covered by multiple analysts;

            •    the misrepresentations and omissions alleged would tend to induce a
                 reasonable investor to misjudge the value of the Bank’s securities; and

            •    Plaintiff and members of the Class purchased, acquired and/or sold
                 Deutsche Bank securities between the time the Defendants failed to
                 disclose or misrepresented material facts and the time the true facts

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               were disclosed, without knowledge of the omitted or misrepresented
               facts.
      55.    Based upon the foregoing, Plaintiff and the members of the Class are

entitled to a presumption of reliance upon the integrity of the market.

      56.    Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens

of the State of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as

Defendants omitted material information in their Class Period statements in violation

of a duty to disclose such information, as detailed above.

                                      COUNT I

(Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
                     Thereunder Against All Defendants)

      57.    Plaintiff repeats and re-alleges each and every allegation contained

above as if fully set forth herein.

      58.    This Count is asserted against Defendants and is based upon Section

10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

thereunder by the SEC.

      59.    During the Class Period, Defendants engaged in a plan, scheme,

conspiracy and course of conduct, pursuant to which they knowingly or recklessly

engaged in acts, transactions, practices and courses of business which operated as a

fraud and deceit upon Plaintiff and the other members of the Class; made various



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untrue statements of material facts and omitted to state material facts necessary in

order to make the statements made, in light of the circumstances under which they

were made, not misleading; and employed devices, schemes and artifices to defraud

in connection with the purchase and sale of securities. Such scheme was intended

to, and, throughout the Class Period, did: (i) deceive the investing public, including

Plaintiff and other Class members, as alleged herein; (ii) artificially inflate and

maintain the market price of Deutsche Bank securities; and (iii) cause Plaintiff and

other members of the Class to purchase or otherwise acquire Deutsche Bank

securities and options at artificially inflated prices. In furtherance of this unlawful

scheme, plan and course of conduct, Defendants, and each of them, took the actions

set forth herein.

      60.    Pursuant to the above plan, scheme, conspiracy and course of conduct,

each of the Defendants participated directly or indirectly in the preparation and/or

issuance of the quarterly and annual reports, SEC filings, press releases and other

statements and documents described above, including statements made to securities

analysts and the media that were designed to influence the market for Deutsche Bank

securities. Such reports, filings, releases and statements were materially false and

misleading in that they failed to disclose material adverse information and

misrepresented the truth about Deutsche Bank’s finances and business prospects.




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      61.      By virtue of their positions at Deutsche Bank, Defendants had actual

knowledge of the materially false and misleading statements and material omissions

alleged herein and intended thereby to deceive Plaintiff and the other members of

the Class, or, in the alternative, Defendants acted with reckless disregard for the truth

in that they failed or refused to ascertain and disclose such facts as would reveal the

materially false and misleading nature of the statements made, although such facts

were readily available to Defendants. Said acts and omissions of Defendants were

committed willfully or with reckless disregard for the truth. In addition, each

Defendant knew or recklessly disregarded that material facts were being

misrepresented or omitted as described above.

      62.    Information showing that Defendants acted knowingly or with reckless

disregard for the truth is peculiarly within Defendants’ knowledge and control. As

the senior managers and/or directors of Deutsche Bank, the Individual Defendants

had knowledge of the details of Deutsche Bank’s internal affairs.

      63.    The Individual Defendants are liable both directly and indirectly for the

wrongs complained of herein. Because of their positions of control and authority,

the Individual Defendants were able to and did, directly or indirectly, control the

content of the statements of Deutsche Bank. As officers and/or directors of a

publicly-held company, the Individual Defendants had a duty to disseminate timely,

accurate, and truthful information with respect to Deutsche Bank’s businesses,



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operations, future financial condition and future prospects. As a result of the

dissemination of the aforementioned false and misleading reports, releases and

public statements, the market price of Deutsche Bank securities was artificially

inflated throughout the Class Period. In ignorance of the adverse facts concerning

Deutsche Bank’s business and financial condition which were concealed by

Defendants, Plaintiff and the other members of the Class purchased or otherwise

acquired Deutsche Bank securities at artificially inflated prices and relied upon the

price of the securities, the integrity of the market for the securities and/or upon

statements disseminated by Defendants, and were damaged thereby.

      64.    During the Class Period, Deutsche Bank securities were traded on an

active and efficient market. Plaintiff and the other members of the Class, relying on

the materially false and misleading statements described herein, which the

Defendants made, issued or caused to be disseminated, or relying upon the integrity

of the market, purchased or otherwise acquired shares of Deutsche Bank securities

at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the

other members of the Class known the truth, they would not have purchased or

otherwise acquired said securities, or would not have purchased or otherwise

acquired them at the inflated prices that were paid. At the time of the purchases

and/or acquisitions by Plaintiff and the Class, the true value of Deutsche Bank

securities was substantially lower than the prices paid by Plaintiff and the other



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members of the Class. The market price of Deutsche Bank securities declined

sharply upon public disclosure of the facts alleged herein to the injury of Plaintiff

and Class members.

      65.    By reason of the conduct alleged herein, Defendants knowingly or

recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

      66.    As a direct and proximate result of Defendants’ wrongful conduct,

Plaintiff and the other members of the Class suffered damages in connection with

their respective purchases, acquisitions and sales of the Bank’s securities during the

Class Period, upon the disclosure that the Bank had been disseminating

misrepresented financial statements to the investing public.

                                     COUNT II

    (Violations of Section 20(a) of the Exchange Act Against The Individual
                                   Defendants)

      67.    Plaintiff repeats and re-alleges each and every allegation contained in

the foregoing paragraphs as if fully set forth herein.

      68.    During the Class Period, the Individual Defendants participated in the

operation and management of Deutsche Bank, and conducted and participated,

directly and indirectly, in the conduct of Deutsche Bank’s business affairs. Because

of their senior positions, they knew the adverse non-public information about




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Deutsche Bank’s misstatement of income and expenses and false financial

statements.

      69.     As officers and/or directors of a publicly owned company, the

Individual Defendants had a duty to disseminate accurate and truthful information

with respect to Deutsche Bank’s financial condition and results of operations, and to

correct promptly any public statements issued by Deutsche Bank which had become

materially false or misleading.

      70.     Because of their positions of control and authority as senior officers,

the Individual Defendants were able to, and did, control the contents of the various

reports, press releases and public filings which Deutsche Bank disseminated in the

marketplace during the Class Period concerning Deutsche Bank’s results of

operations. Throughout the Class Period, the Individual Defendants exercised their

power and authority to cause Deutsche Bank to engage in the wrongful acts

complained of herein. The Individual Defendants therefore, were “controlling

persons” of Deutsche Bank within the meaning of Section 20(a) of the Exchange

Act. In this capacity, they participated in the unlawful conduct alleged which

artificially inflated the market price of Deutsche Bank securities.

      71.     Each of the Individual Defendants, therefore, acted as a controlling

person of Deutsche Bank. By reason of their senior management positions and/or

being directors of Deutsche Bank, each of the Individual Defendants had the power



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to direct the actions of, and exercised the same to cause, Deutsche Bank to engage

in the unlawful acts and conduct complained of herein. Each of the Individual

Defendants exercised control over the general operations of Deutsche Bank and

possessed the power to control the specific activities which comprise the primary

violations about which Plaintiff and the other members of the Class complain.

      72.    By reason of the above conduct, the Individual Defendants are liable

pursuant to Section 20(a) of the Exchange Act for the violations committed by

Deutsche Bank.


                             PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendants as follows:

      A.     Determining that the instant action may be maintained as a class action

under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the

Class representative;

      B.     Requiring Defendants to pay damages sustained by Plaintiff and the

Class by reason of the acts and transactions alleged herein;

      C.     Awarding Plaintiff and the other members of the Class prejudgment and

post-judgment interest, as well as their reasonable attorneys’ fees, expert fees and

other costs; and

      D.     Awarding such other and further relief as this Court may deem just and

proper.


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                       DEMAND FOR TRIAL BY JURY

     Plaintiff hereby demands a trial by jury.

Dated: July 15, 2020                         Respectfully submitted,

                                             POMERANTZ LLP

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                                                                                        Friday, July 10, 2020

 Deutsche Bank (DB)



CERTIFICATION PURSUANT TO FEDERAL SECURITIES LAWS
1. I make this declaration pursuant to Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”)
and/or Section 21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”) as amended by the
Private Securities Litigation Reform Act of 1995.

2. I have reviewed a Complaint against Deutsche Bank Aktiengesellschaft (“Deutsche Bank” ” or the
“Company”) and authorize the ﬁling of a comparable complaint on my behalf.

3. I did not purchase or acquire Deutsche Bank securities at the direction of plaintiffs counsel, or in order
to participate in any private action arising under the Securities Act or Exchange Act.

4. I am willing to serve as a representative party on behalf of a Class of investors who purchased or
acquired Deutsche Bank securities during the class period, including providing testimony at deposition
and trial, if necessary. I understand that the Court has the authority to select the most adequate lead
plaintiff in this action.

5. To the best of my current knowledge, the attached sheet lists all of my transactions in Walmart
securities during the Class Period as speciﬁed in the Complaint.

6. During the three-year period preceding the date on which this Certiﬁcation is signed, I have not sought
to serve as a representative party on behalf of a class under the federal securities laws.

7. I agree not to accept any payment for serving as a representative party on behalf of the class as set
forth in the Complaint, beyond my pro rata share of any recovery, except such reasonable costs and
expenses directly relating to the representation of the class as ordered or approved by the Court.

8. I declare under penalty of perjury that the foregoing is true and correct.




Name


Print Name
Ali Karimi

Signature




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(redacted)




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Deutsche Bank Aktiengesellschaft (DB)                                         Karimi, Ali R.

                                    List of Purchases and Sales

    Transaction                                    Number of             Price Per
       Type                 Date                   Shares/Unit          Share/Unit

         11/15/2017                Purchase                       800            $18.4500
           1/5/2018                Purchase                       200            $18.5200
